





















Opinion issued May 26, 2011



In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-10-00514-CV

———————————

JOSEPH
REGINA, INDIVIDUALLY AND AS TRUSTEE OF the ESPEY FAMILY LIVING TRUST, Appellant

V.

WARREN
ESPEY, PURPORTED TRUSTEE OF the ESPEY FAMILY LIVING TRUST AND PURPORTED AGENT
OF DONALD ESPEY AND ELIZABETH ESPEY, Appellee



&nbsp;



&nbsp;

On
Appeal from the 164th District Court

Harris
County, Texas



Trial
Court Cause No. 2009-11265

&nbsp;



&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant, Joseph Regina, Individually and as Trustee
of the Espey Family Living Trust, has neither established indigence, nor paid
all the required fees.&nbsp; See Tex. R. App. P. 5 (requiring payment of
fees in civil cases unless indigent), 20.1 (listing requirements for
establishing indigence); see also Tex.
Gov’t Code Ann. §§ 51.207, 51.941(a) (Vernon 2005), §
101.041 (Vernon Supp. 2010)
(listing fees in court of appeals); Order Regarding Fees Charged in Civil Cases
in the Supreme Court and the Courts of Appeals and Before the Judicial Panel on
Multidistrict Litigation, Misc. Docket No. 07-9138 (Tex. Aug. 28, 2007), reprinted in Tex. R. App. P. app. A § B(1) (listing fees in court of appeals).&nbsp; After being notified that this appeal was
subject to dismissal, appellant did not adequately respond.&nbsp; See Tex.
R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing
involuntary dismissal of case).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We dismiss the appeal for nonpayment
of all required fees.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We dismiss any pending motions as
moot.

PER CURIAM

Panel
consists of Chief Justice Radack and Justices Keyes and Higley.

&nbsp;





